Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page1of15

CERTIFICATE OF SERVICE

I, Amanda M. Winfree, hereby certify that, on November 16, 2010, I caused one copy of

the foregoing to be served upon the parties on the attached service list via electronic mail.

wwyce.

Amanda M. Winfree (#4615)

74510.1

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 2 of 15

WOd Ja}eupng @USsuelsHyos :YVIAIS

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wo09"J3}/24yoNg @a}sqamdwiosJayeyong @Jajsqamd :yIyvWwa YIWAN Y3LIVHON|
woo acesueAig@ uoyewoura/jayriw sya dT SAV NVAU8
woo'suaAmejusgd@yosaulul VW 371 4SOUSWIN JNOIS NMOUE

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WO? THGHEO3AV0 IVAN NVING133 SLLITOIAVT TWH.IN3SOY Y3INIIG LLOSYSH WOO18

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wos'smqq Mopzesolf VW

dT) ‘NVNG1O9 8 SINSM N3GuNg NI3e

WOD' MV1IGYVAVa® NOSNOWG2SS FIV "v'd ‘QUVAVE
woo" Me|ssaUsINquo\sog Mwy) “WWI Dd OYSSNIAS LLIYOVH Lis Leva
WOd'MY1ILI@NAIMOd GIAVG FIV d11 SUNGNYOHL 8 SANYVE

wos Aaepsiunoyse ® siunoyseywod AdJepsiunoyse s|unoysey “VIN

Od ‘ADUVG 8 SINNONSY

woo'sappad-Aquse@aayuyme ‘wo dsappag-Aquse @uapmoqm VINA

Wd ‘S30035 3 AGHSV

woo’sappad
-Aquse @eypniowoysy ‘iWOD'SA0GAD-AGHSVO NIQMOM “IV

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dT1 391d NVIdV NDT

woo" meLausle@e|jaloul IVI

Od “YANISUS 8 YIHNY

Wwos'uewqney@Aemuose “TIVINE

3YUINDS] ‘AVMNOD 'S M3YO0NV

W09’SABUIO}IE-YSEUEMOD “VINA

Od ‘AGINN3» 8 ANSLNTS ‘NOSITIV

woo duungupe@uljqnpd wos dun8urye uapjosp VIAN

d71 0134 8 YSNVH SSAVULS dAiND NIV

W02*Wa}xde @2AL}4Gq9 “WWINA NOLLV¥Od¥OD WOIXoV

woo" ojeqe @siapsaq wwo0s'ojeqe DROS) “VIN “W'd ‘OLWEYV GNV NIZLSNASNY ‘OLVaV
woo Aajpis@Asque|y “VW dT NILSAV AJTOIS

wo Aajpis@saneyesy4q ‘wos-Aaipis@uejuol VIN dTT NILSNY AJTCIS

WOI'ZJOYIS9}OIG) HI UAId ULU0I'ZJOYISS/OI @)S9]4313Sy VIN

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 3 of 15

WOD' MEP ID Qnes Ua {Woo MePYy@UBUIPaLys TIVIN

377 NVINTIOV 8 Y37IS NVIdvo NVINGAlYd

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d71 SY3L3d 8 NYOS33u4

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WO2'dTISS@ANVYSL SIVING dV) 43939/INVYd

WO" P|!49SYIOIXO} @HIO.YS| /WOd"piyyIsyyosxoj@sjsayosl “UV d71 OIHOSHLOY XO4d
WO>‘AS1OJOTIVNSW IVS d71 Y3NQUYVI 8 A104

WOS’AIIOA@VZVUGIN IWS d71 H3NQUV1 8 AIIOI

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WO9'SLJOWUIUEND Osso|s {Wor sOWSUeNP a P|SMOISE|W SWVINT dT SINYOW ANYAG
woo mdp @aujynososaunqjwos-mdp@sunos-osaungiy TIWIW dT1 TIZQHYM 2 N10d SIAVA

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TASNNOD ONY Y3NOISSIAINOD ALNd3G OOTHINWS TaINVG

Wod'}JEMo@Eywwawnjqu VWs

dT ONINOW 98 113M0¥D

WO2'MVIZAZI@NVIADILLIN NVA IVINS

dT] HONLAIG 98 JDVaNOYD

WOI'ME}SSOJI@ UOW|SI WV ITI NOWIS 8 SSO

WOd"UdZ209 Hsazjajw “VIS YONNOD,O N3Z0D

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AOS |esauasAauoye@uellwows IWIN

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dT} NOWIS '8 SSIUM N3JHOD

AO |OPMaulsjiys yay WWW

MW3H 'Z SNILSINHD

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‘wos suINogpeys @Majlasywoo ausnogpeys@yosjnapp
‘woo ausnogpeys mAewalp ‘wos susnoqpeur@aysiasy WV
wor'adinosjeydes@youeszunsl Wa DT) SONVNIS JDUNOSIVLtdvD

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 4 of 15

was'yajoussaAey@) jouw SWAT

d71 YAaTOHDS SAV

woo" Me]U9a}72y4 Oeupes enysofwios mejusyey oy
asjejod jajuepiioa' mejuaijey @yoHAoUpassaaewos’ Me|La Ney @41adais‘ uyol
“VANS

d71 NVIIN3SOY¥ NIHDNW N3ILLYt

woo'z}mosey@uuayde [WOD'ZYMOSEY@ABUSOIP SIVA

d11 NVWIG3IU4 8 SSYYOL ‘NOSNAG ‘ZLIMOSVY

Wos"saqe5}4 Oyrwws'sayeyd - VW dT1 SALVS 13H

Wor Jauual@|leae/ wos 'sauual@avaejs ‘wo iauual@ psoypesgp Iv d11 190198 3 Y3NNAS
WO’ MVINOSdWOHLO@LOfF -TIVW3 MT NOSdINOHL Of

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d71 NOSLUVH 8 NVSOH

woa‘dy@jeeu'euoweswos dy @jeau'euowes VINA

ANVdINO) GYVNDVd-LLITM3H

Wor dy@uewsy'usywos'dyg@ uews}y "Udy -TIVING

ANVdWOD GdVHOVd-LLITMIH

WOD'XOWY3H @.LSATASS “Wor yo}4aY @uiqnad WO YOMYIH O1S813Ss
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WOo'SdsJAMVIGSHOr
3JSUOWWO2'SYFAMV10dH@PNOLSNHOP WOO 'SuaAMV1dsHOaLLaNNad
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dT) ‘NVIAIWOG 3 LL3NN3d ‘NVDINNAH

WOd'siueYy @ /Wojzapewoo'suey @swojsape s VIN

NOILVYOdYOD SIUYVH

wo3AySAOPesJaUdaI9@YONUUIPI2 STV

d71 HOINN3H 8 JUVHS AINOWI ANSAOGVY JN3I3N9D

WOo'MVILLO@YONVIV9 “IVINS

d71 ‘SIUAVYL SU3@NaIWD

Woo MVILD@d0YOTSW “IVS

dT1 ‘SNAVYL OUSEN3aYD

wos 4yussa@pwg ‘VIA

‘O11 ‘4SOH ONV D3W3N 'NVISSNY ‘IIZGOUNS ‘INILSAIOD

woo'd]jsys @adejaqfiuoo'dysys@ese|s0q! “IV d71 Y3HOILS 8 AJINVH NHO9
woo'diosAsanozes sue)? “WVANS NV AJNOW 39
wlos"jor@MyMaqys VIN "ON! ‘SAILU3dOUd DIdIDVd AVMALVD
Wos*Aosas3ueWINJ @uop “TVW IT) AYOD3YD NVI

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 5 of 15

AQD“1O0@1aVHOIN'’SSOTHDS “IVS

SSO1HDS TAVHOIN

AOS 'NVDIHOIN @GUIFINGIVM FV

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WOJ*ME}-SIW G@)JBUSO! STIVING

d711 ‘NH3.1S 98 YANSOY VNVSS3

Woo Me|SWiWWU @2ap|Nwuww wos me|BwwWwW saya} UV

YNITS 3 VOITIOW ‘YAGI ‘S3LISW

Wwos’siauLiedjsw@plaswa “VIAN

dT) ‘SVINOHL 3 SIDININdS NIYVHdIW

Wwod'spooma,|NnsIW @asauejesd ‘was'spoomaynsow @sjoowsd yyw

d71 SQOOM 3YINSOW

WOd'JaL1e29W H4aAwWy WO 1S peII WG saAewWYy “VIA

d711 ‘HSITON 8 HALYVOOW

WO3JaW2I9W @43a|Pep SWVIND

d71 ‘HSITDN3 8 HALYVODIN

‘woo uMOJqiaAeW Muejweyzel
‘wos uUMOIquaAeW Mueyasye ‘wos umosqiaAew @sesnoyf
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NI31S1503 SMOSYVW

WOOD'S dTl ‘NOSdWYS 8 YIV1g NVD909 Ya9O"vEINIT
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woasuedjqnd@Arydnsyueq Uoysnoywos'suesjqnd@Ar}dnayueq uoysnoy dT] NOSdWYS 8 YIV18 NV9909 YIONVAANII
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Woo 'wosa}awn@aAoq'epuy “VIN

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Wos'1aqulajsima| @MOsemMuU
NwoOD'Saquiaysima| @ooBuole ‘wos Haqujajsma| @saquiayp PWV

‘I'd ‘NOSOVI 8 YINVNAY [337 ‘OYIENI3S ‘SIMI

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Woo Me} @a2)NFIw
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71 ‘NY3LS 8 SJONVOD08 ‘NIHINL ‘337

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 6 of 15

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“W'd “JON3dS 8 NVING1O9 ‘SdITIIHd

WOD' MV1eddd3d OfaNNVHOS‘WOD' MV 1e3adddd DONOLLVYLS “IV

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NOILVYOdYOD ALNVYVNDS Ld3N3d NOISN3d

WOd'SSIEMINVd OVGLIWNHST ‘WOD'SSIaMINVd@ NMONSG
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dT1 NOSSIUYV9 8 NOLYVHM ‘GNDIIY ‘SSIIM ‘INWd

WOo'SSIEMINVd OMOGIAVAS “IVINS

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WO WWO®S3NO!d “IVI

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dT1 SYUIAW 8 ANZATSW.0

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Od ‘NISLSN3GNY ONY LN3WV SY3gN3Na0 LSIaHS HONW

woo°Aa}ue suesJOW @ Jape uAjOJed WO Aajue|suesJow @.1a|/pe‘uAjosed
“ivwa

JWOONT O3Xxld AJINVLS NYOYOW

WOO" MYINOW@ANSY3INY “IVINS

“v'd ‘U3QMOUS ONV NIHONVIOW ANSYAW XOVZNOW

AO’ OUWN10P @90p sv

JNN3AIY JO LNIWLYVd30 IWNOSSIW

Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 7 of 15

WOd"SOIQIIUIEM® UIWIS AUARM “IVI

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wod’sAJOA@qq02$} “TIVIN

d11 3Sv3d GNV YNOWAZS ‘HALVS ‘SANOA

wos'dssam@aqqoos | STV

d11 3SVid 8 YNOWAIS YALVS SAHOAT

Aad [opsn@'syst[s'Ua]]aA08 fopsn@ *s}ysljs'uay|a “WWE

391440 SAINYOLLY SN

AOS jOp @pseuoayuosiad ‘aos jopgqujeqeziya’ssaqpos WW

YORSV1 JO LNIWLUVd3ad S3LVLS G3.LINN

Aodfopsn@Aosrmayiyew - vg

JOILSAF IO LNIWLYVdad SALVLS G3LINN

wor Me|UN@sawisawg - VIAN

SIUVH 3 LLLQYVONN

AOD’ TOUSN@WN1G139' NVLYNOA “TIVIN

JDILSN[ dO LNAW LYvd3ad “S'N

Woo Meda @UuUojjeys -TIVIANS

Tiad ONV N¥Vdd0d3ay LAOSAL

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ONI ‘NOISIAST3.L HLSLLNS ML

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dT1 ‘SS3ud 8 AINOWW WHOLSY3GOS H31SSAYL

wos ooueA@saxds0yuw) -IVW]

083 ‘Y34d30H ‘W GOO

wor'dnoizyodeasau OFaqpaiys WWW ITI dNOYD LYOdV3S SHL
woo dnos3mejuuewiad MUUEWIAIP SIVA dNOYS MVINNVWISY SH
WOP'SJOSIADEJSPOZAOISNWeE F1IVIW4 dNOYS 4Sd SHE
woa'd]jmeiqy @uwineqayjay svn d71 ‘NSW 8 WNVETSLUSL

woo fwwus@uozep'e -TIVIN aANVI LYVALLS

WOd'MeE]YUDGSHualsgoa “VW

Od SY38HOOH 8 NVINVID LLUNN38 13d WLS

wOd"Pss @UyuIpy wos ‘pss @UYUIPy “TIVINS

dT] AJSdINId 8 SYSQNVS ‘3YINDS

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"I'd ‘Y39SS3T 8 ATDOTIVS NITMIS

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dT] NIMGOOS 8 NVWdIHS

Ws" Me|BASH IY xWO Me|sAs O|INU “UV

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dTl ONIMA 1NWS

WOO Dds NYOOLVAVI “IVINS

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‘O'd NAHISLLIVI NOISVA NINSNY

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 8 of 15

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2d ATIOM °3 NHYVX INVd ONINTONIMZ

WodUeLUayoN2@Aanesewy “IVAW

dT1YaGaVdS NVWYSNDNZ

wos uewaxypnz@ysngs : yyw

dT1 4303VdS NVWYSONZ

WO’ LSDA@AYVATOW WO LSDA@AGVHEY STIVINA

dT1 ‘YOTAVL 8 LEVDYVLS AYVMYNOD ONNOA

WOD'UO}SUIM@J2I@UP “IVI

dT] NMVULS 8 NOLSNIM

WOd"a}eyJaW|IM@uUeWpjos mMaspue “TVW

d71 YYO" ANY 3IVH ONIN3NDId YFILND YIM

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 9 of 15

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 10 of 15

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 11 of 15

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{00453659;v1}

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{00453659;v1}

Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 13 of 15

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Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 14 of 15

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{00453659;v1}

Case 08-13141-BLS Doc 6466-1 Filed 11/16/10 Page 15 of 15

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